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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION



Robert Ross, Individually,                  :   Consolidated Case Nos.
and on behalf of all others                     2:05-cv-0819
similarly situated,                         :   2:05-cv-0848
                                                2:05-cv-0860
            Plaintiff,                      :   2:05-cv-0879
                                                2:05-cv-0893
      v.                                    :   2:05-cv-0913
                                                2:05-cv-0959
Abercrombie & Fitch Company,                :   2:05-cv-0964
et al.,                                         2:05-cv-0998
                                            :   2:05-cv-1084
            Defendants.
                                            :   JUDGE SARGUS

                              OPINION AND ORDER

      These securities cases are before the Court by way of
Defendant Abercrombie & Fitch Co.’s motion to compel discovery
filed on December 17, 2007.         The motion seeks an order compelling
the lead plaintiff, City of Dearborn Heights Act of 345 Police
and Fire Retirement System, to provide certain additional
information which, according to Abercrombie, is relevant to the
issue of class certification.          The motion originally sought
information about the City’s other investment activity, but the
parties have advised the Court that they are likely to resolve
that issue among themselves.         The remaining issue is whether the
City must disclose information about certain persons who may have
provided the City with the facts underlying certain allegations
in the complaint.       For the following reasons, the motion will be
denied.
                                       I.
      The parties agree on the relevant facts.             Interrogatories
six and seven of Abercrombie’s first set of interrogatories asked
the City to identify each person, each document, or each other
source of information that supported the allegations in
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paragraphs 4, 10, 11, 50, 112, and three subparagraphs of
paragraph 89 of the complaint.          Abercrombie separately requested
the City to produce all documents which supported those same
allegations as well as any documents reflecting communications
between the City and its sources of information.
      The City generally objected to both interrogatories but
provided the following substantive answer: “[A]ll witnesses of
whom it is aware that may have knowledge of the referenced
allegations have been identified in its Rule 26 initial
disclosures.”      It reiterated its general objection to these
inquiries in its response to the document request, but added that
any documents or communications with sources about those
allegations were protected by either the work product or
attorney-client privilege.         The City’s initial Rule 26
disclosures identified 84 witnesses (all of whom are former
Abercrombie employees) who have relevant knowledge concerning its
claims.    In correspondence, counsel for the City stated that
although all of the persons who provided information in support
of the complaint were identified in the initial disclosures, the
City was under no obligation to specify which persons provided
information in support of specific allegations found within the
complaint.     The question is whether the City can invoke the work-
product privilege in support of its refusal to answer
Abercrombie’s inquiries on this subject.
                                       II.
      It is important to note at the outset that the issue here is
not whether the City is entitled to conceal from Abercrombie the
identity of those witnesses whom it relied upon in crafting the
complaint.     It has already provided their names in its initial
disclosures.     That fact alone distinguishes this case from, for
example, Brody v. Zix Corp., 2007 WL 1544638 (N.D. Tex. May 25,
2007), where it appeared that the plaintiff objected to any


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disclosure of the names of the confidential sources who supplied
information supporting specific allegations in the complaint.
The holding of that case - that the names of witnesses who “have
knowledge of facts relevant to a claim or defense ... are clearly
within the scope of permissible discovery and must be revealed,”
id. at *2 - is hardly controversial.           The issue in this case,
however, is much more complex.
      Leaving aside for the moment the fact that, up to this
point, Abercrombie has asked only for the names of witnesses whom
the City relied on in making a few key allegations in the
complaint, the issue is this: May any party in litigation force
the opposing party not only to comply with Rule 26(a)(1) by
disclosing the names of “each individual likely to have
discoverable information that the disclosing party may use to
support its claims or defenses,” but also to state (1) which of
those persons the opponent interviewed when that party was
drafting its pleading, and, even more specifically, (2) which of
those persons provided the information underlying specific
paragraphs or subparagraphs of that pleading?              Because requiring
such disclosures would unnecessarily intrude on the work product
process, the Court holds that Abercrombie is not entitled to any
further information on this subject.
                                      III.
      At its heart, the work product privilege provides space for
an attorney to think, strategize, and recommend without fear that
the essential parts of his or her thought processes will be laid
bare for opposing counsel.         Certainly, a part of the rationale
for the doctrine is to prevent opposing counsel simply from
piggy-backing on the work done by others, but the more important
theoretical justification for having a work product privilege at
all relates to this concept of “working space.”              As the Supreme
Court noted in Hickman v. Taylor, 329 U.S. 495, 510-11 (1947),


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      [I]t is essential that a lawyer work with a certain
      degree of privacy, free from unnecessary intrusion by
      opposing parties and their counsel. Proper preparation
      of a client's case demands that he assemble
      information, sift what he considers to be the relevant
      from the irrelevant facts, prepare his legal theories
      and plan his strategy without undue and needless
      interference. That is the historical and the necessary
      way in which lawyers act within the framework of our
      system of jurisprudence to promote justice and to
      protect their clients' interests. This work is
      reflected, of course, in interviews, statements,
      memoranda, correspondence, briefs, mental impressions,
      personal beliefs, and countless other tangible and
      intangible ways .... [If] [a]n attorney's thoughts,
      heretofore inviolate, would not be his own .[...]
      [i]nefficiency, unfairness and sharp practices would
      inevitably develop in the giving of legal advice and in
      the preparation of cases for trial. The effect on the
      legal profession would be demoralizing. And the
      interests of the clients and the cause of justice would
      be poorly served.

      Drafting a pleading - deciding exactly what to allege and
how to allege it - is a quintessential function of a litigating
attorney.     That attorney makes key strategic decisions about whom
to interview in preparing that pleading, and whose information is
reliable enough to persuade the attorney that he or she may aver
a fact provided by that witness without violating Rule 11's
mandate that all facts alleged “have evidentiary support or ...
are likely to have evidentiary support after a reasonable
opportunity for further investigation or discovery ....”                It
therefore seems beyond dispute that if an attorney has to tell
opposing counsel exactly whom he or she chose to interview when
preparing a pleading, and which information obtained from those
interviews was deemed worthy enough to support each specific
allegation within that pleading, there will be a substantial
intrusion upon the attorney’s “working space.”              Further, the
Court sees no practical distinction between asking an attorney to
say which witness or witnesses supported specific allegations in

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a pleading and asking that attorney to disclose the contents of
any statement taken from the witness, together with the
attorney’s mental impression concerning the credibility of that
witness’s statement.       Such mental impressions are not only
unquestionably work product but have been given a heightened
level of protection from disclosure.           See, e.g., In re Antitrust
Grand Jury, 805 F.2d 155 (6th Cir. 1986).
      None of the cases cited by Abercrombie directly reject this
analysis.     Abrecrombie’s two best cases, In re Harmonic Inc.
Securities Litigation, 245 F.R.D. 424 (N.D. Cal. 2007) and Miller
v. Ventro Corp., 2004 WL 868202 (N.D. Cal. April 21, 2004), both
involved situations where, for whatever reason, the attorney who
drafted the complaint chose to allege in the complaint itself
that certain allegations were based on statements from specific
confidential witnesses (five in one case, and 22 in the other).
Thus, the attorney made at least a partial disclosure of
protected information.        Miller, upon which Harmonic heavily
relied, reached its result in part on the alternative rationale
that any work product protection attaching to the list of names
of the 22 witnesses in question was overcome by the defendants’
substantial need for the information and the difficulty involved
in culling those names from a list of at least 165 potential
witnesses.     The court noted that the case was on a “compressed”
discovery schedule and that it simply would not be possible for
the defendants to interview that many witnesses to find out who
the key ones were.       It also relied on a case, cited as In re
Northpoint Communications Group, Inc., Securities Litigation, 221
F.Supp. 2d 1090 (N.D. Cal. 2002), for the proposition that when a
plaintiff attempts to satisfy the pleading requirements of the
Private Securities Litigation Reform Act by “showcasing”
statements from a limited number of confidential witnesses, it
may not thereafter refuse to disclose who they are.               These


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decisions are entirely consistent with the dual propositions that
partial disclosure of information protected by the work product
doctrine may constitute a waiver, and that a party is not
permitted to use such doctrines as both a shield and a sword.
Cf. In re Echostar Communications Corp., 448 F.3d 1294 (Fed. Cir.
2006).    Those considerations come into play, however, once work
product protection is found in the first instance.
      This Court is persuaded by the reasoning above, and by
decisions such as In re MTI Technology Corp. Securities
Litigation II, 2002 WL 32344347 (C.D. Cal. June 13, 2002), that
the disclosures Abercrombie has requested in this case are “at
the heart of the work product rule” and that counsel should not
be forced to make those disclosures absent either a waiver of the
privilege or a showing of need and hardship sufficient to
overcome it.     Further, the work product protection is
particularly strong here (and stronger than in some of the cases
cited with approval in MTI Technology) because Abercrombie has
asked not just for a list of witnesses whom counsel interviewed
in order to prepare the complaint - a request that some of those
decisions denied on work product grounds - but for information
that would link specific witnesses to specific allegations.
      Abercrombie’s justification for overcoming the work product
privilege here is tied to its belief that without such
information, it will be required to depose or interview in excess
of eighty witnesses to find out what support may exist for
certain allegations in the complaint.            The Court does not view
that as a substantial hardship in a case of this magnitude,
especially when discovery is in its infancy and it is impossible
even to predict when the first wave of document production will
be substantially complete.         Further, the allegations of the
complaint about which Abercrombie has inquired are pleaded with a
high degree of specificity.         Presumably, many of the former


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Abercrombie employees whose names appear on the initial
disclosures can be ruled out as sources of this information
either because of dates of employment, where they were located at
the time of the alleged actions, or the positions they held.
      The mere fact that counsel may have to do some investigative
work to determine which witnesses have knowledge of which
relevant facts is clearly insufficient to justify an intrusion
into the particulars of how opposing counsel structured their
interviews and how much credence they gave to the statements of
individual witnesses.        This is especially true where nothing
about the amended complaint suggests an effort to bolster its
credibility through targeted references to confidential sources.
Thus, there is no inherent unfairness created here by such
pleading methods.       Rather, this appears to be a garden-variety
situation where plaintiff’s counsel interviewed some number of
witnesses before preparing a complaint and based the allegations
in the complaint on that and other information.              While counsel
may not withhold either the names of witnesses with relevant
information or the location of relevant documents - and that has
not happened here - they simply cannot be compelled to give
opposing counsel all of the details of how they decided to plead
each allegation in the complaint.            Defense counsel can clearly
replicate the process by interviewing or deposing the same
universe of witnesses, and there is neither a substantial need
for them to find out more about the other side’s strategies and
thoughts, nor an undue hardship if they do not.
                                       IV.
      For the foregoing reasons, the Motion of Defendant
Abercrombie & Fitch Co. to Compel Discovery (#166) is denied.
      Any party may, within ten (10) days after this Order is filed,
file and serve on the opposing party a motion for reconsideration
by a District Judge.       28 U.S.C. §636(b)(1)(A), Rule 72(a), Fed. R.


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Civ. P.; Eastern Division Order No. 91-3, pt. I., F., 5.                     The
motion must specifically designate the order or part in question
and the basis for any objection.          Responses to objections are due
ten days after objections are filed and replies by the objecting
party are due seven days thereafter.              The District Judge, upon
consideration of the motion, shall set aside any part of this Order
found to be clearly erroneous or contrary to law.
      This order is in full force and effect, notwithstanding the
filing of any objections, unless stayed by the Magistrate Judge or
District Judge.      S.D. Ohio L.R. 72.4.


                                     /s/ Terence P. Kemp
                                     United States Magistrate Judge




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